Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 1 of 17




                       Exhibit 1




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Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 2 of 17




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Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 3 of 17




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Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 4 of 17




                     Exhibit 2




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Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 5 of 17




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                          Exhibit 4




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       Case 19-17398-btb        Doc 52-3    Entered 08/28/20 12:32:43   Page 12 of 17




                      PERLA MARIA MEREZKO
                         Payment History

Date Received   Total Payment   Principal Interest    Lender Note
  7/17/2020         776.70       639.56    137.14    Loan Payment
  5/27/2020         843.02       420.08    422.94    Loan Payment
  11/5/2019         600.00       552.74     47.26    Loan Payment
 10/10/2019         700.00       637.61     62.39    Loan Payment
   9/7/2019         600.00       531.70     68.30    Loan Payment
   8/3/2019         600.00       549.65     50.35    Loan Payment
   7/9/2019         600.00       537.74     62.26    Loan Payment
   6/9/2019         600.00       514.63     85.37    Loan Payment
  4/30/2019         600.00       483.95    116.05    Loan Payment
   3/8/2019         475.00       403.46     71.54    Loan Payment
   2/4/2019         600.00       526.53     73.47    Loan Payment
   1/3/2019         585.41       512.42     72.99    Loan Payment
  12/3/2018         585.41       510.62     74.79    Loan Payment
  11/2/2018         590.00       513.39     76.61    Loan Payment
  10/2/2018         600.00       531.63     68.37    Loan Payment
   9/5/2018         590.00       502.28     87.72    Loan Payment
   9/5/2018         600.00       600.00      0.00    Loan Payment
   8/3/2018         585.41       490.42     94.99    Loan Payment
  6/29/2018         500.00       417.15     82.85    Loan Payment
  5/30/2018         300.07       216.48     83.59    Loan Payment
  4/30/2018         400.00       312.51     87.49    Loan Payment
  3/30/2018         350.00       264.43     85.57    Loan Payment
  2/28/2018         600.00       512.67     87.33    Loan Payment
  1/29/2018         600.00       507.96     92.04    Loan Payment
 12/29/2017         600.00       590.89      9.11    Loan Payment
 12/26/2017         600.00       516.43     83.57    Loan Payment
 11/29/2017         600.00       502.26     97.74    Loan Payment
 10/29/2017         600.00       503.69     96.31    Loan Payment
  9/29/2017         600.00       501.96     98.04    Loan Payment
  8/30/2017         600.00       496.94    103.06    Loan Payment
  7/30/2017         600.00       498.56    101.44    Loan Payment
  6/30/2017         600.00       493.42    106.58    Loan Payment
  5/30/2017         600.00       495.17    104.83    Loan Payment
  4/30/2017         600.00       489.95    110.05    Loan Payment
  3/30/2017         600.00       491.80    108.20    Loan Payment
  2/28/2017         500.00       394.10    105.90    Loan Payment
  1/30/2017         600.00       485.08    114.92    Loan Payment
 12/30/2016         600.00       483.37    116.63    Loan Payment
 11/29/2016         600.00       485.47    114.53    Loan Payment
 10/30/2016         600.00       483.81    116.19    Loan Payment
  9/30/2016         600.00       478.24    121.76    Loan Payment
  8/30/2016         600.00       476.55    123.45    Loan Payment
  7/30/2016         600.00       478.90    121.10    Loan Payment
  6/30/2016         600.00       501.74     98.26    Loan Payment
   6/6/2016         600.00       442.51    157.49    Loan Payment
  4/29/2016         600.00       465.66    134.34    Loan Payment




                                                                    Exhibit 4, Page 12
     Case 19-17398-btb   Doc 52-3    Entered 08/28/20 12:32:43   Page 13 of 17



3/28/2016     600.00      421.67    178.33   Loan Payment




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Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43   Page 14 of 17




                       Exhibit 5




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              Case 19-17398-btb   Doc 52-3   Entered 08/28/20 12:32:43        Page 15 of 17




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 8   MARTIN L. WELSH, ESQ.
     NEVADA STATE BAR NO. 8720
 9   LAW OFFICE OF HAYES & WELSH
     199 N. ARROYO GRANDE BLVD., SUITE 200
10   HENDERSON, NEVADA 89074
     PHONE: 702-960-4006
11   FAX#: 702-434-3739
     MWELSH@LVLAW.COM
12
     ATTORNEY FOR MOVANT
13   BMW BANK OF NORTH AMERICA

14                          UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEVADA
15
     In Re:                                     )    Case No. 19-17398-btb
16                                              )    (Chapter 7 Proceeding)
                                                )
     PERLA MARIA MEREZKO                        )    ORDER APPROVING MOTION FOR
17                                              )    RELIEF FROM THE AUTOMATIC STAY
                                                )
18                                              )
                                                )    Hearing Date: 10/06/2020
          Debtor.                               )    Hearing Time: 10:00 AM
19                                              )
                                                )    Address: Courtroom 4 (2nd Floor)
20                                              )    Foley Federal Building
                                                )
                                                     300 Las Vegas Boulevard South
21                                                   Las Vegas, NV 89101
                                                     Judge: BRUCE T. BEESLEY
22

23
        ORDER APPROVING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
24
                                                 1

                                                             Exhibit 5, Page 15
           Case 19-17398-btb         Doc 52-3     Entered 08/28/20 12:32:43     Page 16 of 17




 1            The Motion for Relief from Automatic Stay of BMW Bank of North America and its

 2   successors and/or assigns came on regularly for hearing before this court on ______________,

 3   appearances as noted on the record. No timely opposition having been filed, the court being fully

 4   advised in the premises and good cause appearing:

 5          IT IS HEREBY ORDERED that the Motion for Relief from the Automatic Stay be, and

 6   hereby is granted.

 7          IT IS FURTHER ORDERED that all stay provisions are hereby terminated as to personal

 8   property commonly known as a 2015 MINI Hardtop 4 Door Cooper S Hatchback 4D, V.I.N #

 9   WMWXU3C51F2B57822.

10          IT IS FURTHER ORDERED that the 14-day stay of Federal Rule of Bankruptcy

11   Procedure 4001(a)(3) is waived.

12

13   SUBMITTED BY:

14   /s/ Martin L. Welsh
     Martin L. Welsh, Esq.
15   Nevada State Bar No. 8720
     Law Office of Hayes & Welsh
16   199 N. Arroyo Grande Blvd., Suite 200
     Henderson, Nevada 89074
17   Phone: 702-960-4006
     Fax#: 702-434-3739
18   mwelsh@lvlaw.com

19   Attorney for Movant
     BMW Bank of North America
20
                                       RULE 9021 CERTIFICATION
21
     In accordance with Local Rule 9021, counsel submitting this document certifies that order
22
     accurately reflects the court’s ruling and that:
23
                    ___ The Court has waived the requirement set forth in LR 9021(b)(1).
24
                                                        2


                                                                  Exhibit 5, Page 16
     Case 19-17398-btb    Doc 52-3     Entered 08/28/20 12:32:43        Page 17 of 17




 1         ___ No party appeared at the hearing or filed an objection to the motion.

 2         ___ I have delivered a copy of this proposed order to all counsel who appeared at

 3         the hearing, and any unrepresented parties who appeared at the hearing, and each

 4         has approved or disapproved the order the court’s ruling and that:

 5         ___ The Court has waived the requirement set forth in LR 9021, or failed to

 6         respond, as indicated below [list each party and whether the party has approved,

 7         disapproved, or failed to respond to the document]:

 8         _X_ I certify that this is a case under Chapter 7, that I have served a copy of this

 9         order with the motion pursuant to LR 9014(g), and that no party has objected to the

10         form or content of the order.

11
                                                             /s/ Martin L. Welsh
12
                                                              Martin L. Welsh
13

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                                                          Exhibit 5, Page 17
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